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                                                                                       Danielle Hamilton <hamilton@loevy.com>



  Jaimes v. Cook County
  Danielle Hamilton <hamilton@loevy.com>                                                              Thu, Feb 28, 2019 at 5:02 PM
  To: Elizabeth Ekl <eekl@reiterburns.com>
  Cc: Katie Roche <katie@loevy.com>, Mike Kanovitz <mike@loevy.com>

    Beth, thanks for the update. We are still missing the following:

               Erika Aguirre Cook County Sheriff's Police Department tests and results (RFP No. 11) - requested November
               2018
               Cook County insurance policy effective Nov 2015 (RFP No. 9) - requested November 2018, you've given us the
               policy numbers but not the policies themselves
               Employee vs. employee OPR complaints (RFP No. 18) - ordered produced by the Court on October 29, 2018

    These documents were ordered to be produced or requested four months ago. And we proposed dates for the
    depositions 2 weeks ago. Given the tight deadlines in this case, we cannot waste any more time. Please confirm in writing
    by COB tomorrow that these documents will be produced no later than March 4 so that we may review them in time for
    the depositions beginning the week of March 11. Please also confirm in writing by COB tomorrow that dates and
    deponents for depositions during the week of March 11 will be set no later than March 4 to so that we can adequately
    prepare.

    If we do not hear from you, we will file a motion with the Court on the outstanding discovery, issue notices for the
    depositions, and proceed from there.

    Thanks for your attention to these matters,
    Danielle

    --
    Danielle Hamilton
    Loevy & Loevy
    311 N. Aberdeen Street, 3rd Floor
    Chicago, Illinois 60607
    (312) 243-5900

    On Thu, Feb 28, 2019 at 11:39 AM Elizabeth Ekl <eekl@reiterburns.com> wrote:

       Counsel,



       I was not able to confirm availability of a 30(b)(6) witness for tomorrow. However, I am working on getting dates for the
       all of the depositions that you propose. I am also trying to determine if one of the CCSO witnesses whom you seek to
       depose individually can also cover the remaining 30(b)(6) deposition you seek regarding incidents of correctional
       officers being approached off-duty by former detainees. This will avoid the necessity of an additional deponent on a
       fairly narrow topic.



       Defendants’ response to plaintiffs’ 3rd set of requests for production are due next week. We anticipate timely
       responding to that request, which seeks certain ad hoc IAPRO reports.



       I am tied up today until late afternoon/early evening. I will be around tomorrow, if there is anything else you would like
       to discuss further.



       -Beth


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